          Case 21-60052 Document 92 Filed in TXSB on 12/13/21 Page 1 of 9




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

                                           )
In re:                                     )      Subchapter V
                                           )
Scott Vincent Van Dyke,                    )      Case No. 21-60052
                                           )      Christopher M. Lopez
        Debtor.                            )
                                           )
                                           )
     BUILDERS WEST, INC.’S OBJECTION TO CONFIRMATION OF DEBTOR’S
                  AMENDED PLAN OF REORGANIZATION UNDER
                        SUBCHAPTER V OF CHAPTER 11
                            [Relates to Doc. No. 86]

TO THE HON. CHRISTOPHER M. LOPEZ
U.S. BANKRUPTCY JUDGE:

         Builders West, Inc. (“Builders West”), by and through its undersigned counsel, hereby files

this Objection to the Debtor’s Amended Plan of Reorganization under Subchapter V of Chapter

11 (hereinafter, the “Objection”). In support hereof, Builders West respectfully submits the

following:

                                         BACKGROUND

         1.     On May 25, 2021 (the “Petition Date”), Mr. Scott Vincent Van Dyke (hereinafter

“Van Dyke” or “Debtor”) filed a voluntary petition for relief under Chapter 11 of Title 11, United

States Code 11 U.S.C. § 101 et seq. (the “Bankruptcy Code”), with a Subchapter V election. The

Debtor’s above-styled bankruptcy case (“Case”) is pending before the United States Bankruptcy

Court for the Southern District of Texas, Victoria Division (the “Court”).

         2.     On September 20, 2021, Builders West timely filed its proof of claim against the

Debtor in the amount of $1,062,002.90 (“Claim Amount”). See Claim No. 12. The Claim Amount

is based on a judgment that was entered in favor of Builders West and against the Debtor, prior to

the Petition Date, in Cause No. 2011-54019, Builders West, Inc. v. Scott Van Dyke in the 113th


12288383.1
             Case 21-60052 Document 92 Filed in TXSB on 12/13/21 Page 2 of 9




Judicial District Court, Harris County, Texas (the “Lawsuit”). The Lawsuit was based upon the

Debtor’s breach of his contract with Builders West. The judgment in favor of Builders West was

signed by the court on June 9, 2016. See Claim No. 12, at Exhibit 1 to Addendum B.

           3.       On October 29, 2021, the Debtor submitted its proposed Plan of Reorganization

[Doc No. 66].

           4.       On December 11, 2021, the Debtor then filed its proposed Amended Plan of

Reorganization [Doc. No. 86] (the “Plan”).1

           5.       As of the date hereof, and pursuant to the Stipulation Extending Plan Confirmation

Deadlines [Doc. No. 85], the deadline to file an objection to the confirmation of the Plan is

December 13, 2021, at 5:00 pm (prevailing Central Time). Additionally, the Court will also

conduct a telephonic and video hearing to consider confirmation of the Plan on December 15,

2021, at 1:00 pm (prevailing Central Time).

                                                    OBJECTION

           6.       The Debtor bears the burden of proving that the Plan satisfies the confirmation

requirements contained in Section 1129(a), and, as applicable, the “cramdown” provisions of

Section 1129(b). See, e.g., In re Cypresswood Land Partners, Inc., 409 B.R. 396, 422 (Bankr.

S.D. Tex. 2009) (“The Debtor, as the proponent of the [plan], has the burden of proving that all

elements of 11 U.S.C. § 1129(a) are satisfied.”). The Plan must be fair and equitable. In re MCorp

Financial, Inc., 137 B.R. 219, 225 (Bankr. S.D. Tex. 1992). The Plan must not discriminate

unfairly. 11. U.S.C. § 1129(b). The Plan must be in the best interests of creditors. See Bank of Am.

Nat’l Tr. & Sav. Ass’n v. 203 N. LaSalle St. P’ship, 526 U.S. 434, 442 n.13 (1999) (“The ‘best

interests’ test applies to individual creditors holding impaired claims, even if the class as a whole


1
    All capitalized but undefined terms herein shall have the same meaning as ascribed to in the Plan.



Page 2 of 9
         Case 21-60052 Document 92 Filed in TXSB on 12/13/21 Page 3 of 9




votes to accept the plan.”). The Debtor must also show that the Plan is proposed in good faith. See

In re Sandy Ridge Development Corp., 881 F.2d 1346, 1353 (5th Cir. 1989). As set forth herein,

the Debtor has failed to carry its burden.

A.      The Plan “unfairly discriminates” against General Unsecured Creditors in Class 4 of
        the Plan, in violation of Sections 1129(b) and 1191(b) of the Bankruptcy Code.

        7.      While there is no absolute priority rule in a subchapter V case, the Debtor has

unfairly discriminated against Class 4 of the Plan under sections 1129(b) and 1191(b) of the

Bankruptcy Code.        Here, both Class 4 (General Unsecured Creditors) and Class 5 (TPO

Guarantees)2 are both general unsecured creditor classes. However, the classes are being treated

differently. Class 5 creditors appear to be receiving 100% of its claim (i.e., being classified as an

“unimpaired class”); whereas, Class 4 creditors are receiving pennies to the dollar.

        8.      Because both classes are similarly situated, there is no reason that Class 4 and Class

5 should be treated differently. For these reasons, the Plan unfairly discriminates against Class 4

and, therefore, should not be confirmed.

B.      The Plan is not “fair and equitable” and, therefore, violates Section 1191(b) of the
        Bankruptcy Code.

        9.      In a subchapter V case, a nonconsensual plan cannot be confirmed if it is not fair

and equitable. See In re Pearl Resources LLC, 622 B.R. 236, 265 (S.D. Tex. 2020) (citing 11

U.S.C. § 1191(b)). For unsecured claims, section 1191 “does not state a ‘fair and equitable’ rule,”

but instead “imposes a projected disposable income requirement…, which requires a feasibility

finding and requires that the plan provide appropriate remedies if payments are not made.” See

In re Pearl Resources LLC, 622 B.R. at 265 (emphasis added) (citing 11 U.S.C. § 1191(c)); see




2
 See PLAN, at 19 (‘”Class 5 is comprised of TPO lenders claims personally guaranteed by Mr. Van Dyke for which
no default exists.”). To be clear, “TPO” refers to Texas Petroleum Operations LLC.



Page 3 of 9
          Case 21-60052 Document 92 Filed in TXSB on 12/13/21 Page 4 of 9




also 11 U.S.C. § 1191(d) (defining “disposable income” to mean “the income that is received by

the debtor and that is not reasonably necessary to be expended (1) for—(A) the maintenance or

support of the debtor or a dependent of the debtor; or (B) a domestic support obligation that first

becomes payable after the date of the filing of the petition . . . .”).

         10.      Here, the Debtor has provided a five-year financial projection for both TPO’s and

his personal income and expenses. According to the Plan, the Debtor anticipates that TPO will

drill four wells in connection with the Adams Prospect during course of the five year Plan, in

addition to acquiring oil and gas mineral leases on about 1,700 acres. See PLAN, at 22-23 (“Sources

of Payments”). With the addition of each productive well, the Debtor’s source of funds (and

presumably Debtor’s salary) would naturally increase with time, not decrease.

         11.      However, despite adding productive wells to the Adams Prospect, TPO’s sources

of funds and his salary3 both inexplicably decrease in years four and five. The Debtor, therefore,

appears to have failed to commit all of his disposable income to his payment plan as required by

Section 1191(c)(2)(B) of the Bankruptcy Code.

         12.      Due to the defects in the proposed Plan, Builders West further objects to the Plan

to the extent that it fails to provide sufficient remedies under the Plan. See 11 U.S.C. §


3
 The Plan fails to explain the decrease in Debtor’s annual salary for the last two years of the Plan. According to the
Debtor’s 5-Year Projection, the Debtor’s annual salary is the following:
                  Year        Debtor’s Annual Salary
                  2022        $             720,000.00
                  2023        $            720,000.00
                  2024        $            840,000.00
                  2025        $            720,000.00
                  2026        $             600,000.00




Page 4 of 9
           Case 21-60052 Document 92 Filed in TXSB on 12/13/21 Page 5 of 9




1129(c)(3)(B) (“[T]he plan provides appropriate remedies . . . to protect the holders of claims or

interests in the event that the payments are not made”). Specifically, the Plan appears to provide

a discharge to the debtor “on the completion of all payments due within the first 3 years of this

Plan or as otherwise provided in § 1192 of the Bankruptcy Code.” PLAN, at 23 (emphasis added).

Accordingly, and to the extent that Debtor is seeking a discharge after year 3 of the plan, the Plan

should be amended so that discharge is not granted until after the last payment in year 5. If the

Debtor defaults in year 4, for example, then creditors should be entitled to seek remedies against

the Debtor –and a discharge would preclude them from doing so.

C.        The Plan is not “feasible” as required by Sections 1129(a)(11) and 1191(c)(3)(A)(ii)
          and, therefore, cannot be confirmed.

          13.      Based on the information provided in the proposed Plan (or lack thereof), the Plan

is not feasible as required by Sections 1129(a)(11) and 1191(c)(3)(A)(ii) and, therefore, cannot be

confirmed. See 11 U.S.C. §§ 1129(a)(11) (setting out “feasibility” requirement to confirmation),

and 1191(c)(3)(A)(ii) (“[T]here is reasonable likelihood that the debtor will be able to make all

payments under the plan”); see also In re Pearl Resources LLC, 622 B.R. 236, 263 (Bankr. S.D.

Tex. 2020) (“Under the feasibility standard, a debtor [in a subchapter v case] must demonstrate

that its plan offers a reasonable possibility of success by a preponderance of the evidence. The

court need not require a guarantee of success.”)). Without more information, Builders West cannot

determine if the proposed Plan will be feasible during its projected 5-year plan.

     i.         The Plan fails to adequately explain the “Treatment of Unsecured General Claims
                (Class 4).”

          14.      Builders West objects to the Plan’s “Treatment of Unsecured General Claims (Class

4)” because—while the Plan identifies certain interests and proceeds that are assigned to

claimholders in Class 4 (i.e., “State Court Registry Funds Litigation . . . . including but not limited




Page 5 of 9
            Case 21-60052 Document 92 Filed in TXSB on 12/13/21 Page 6 of 9




to, the Debtor’s funds held in the registry of the Court for the 6st Judicial District of Harris County

[and] Debtor’s claim for repayment of his loan to ADE”)4—the Plan fails to explain when and how

such assigned assets will be assigned and liquidated, and who will liquidate and make these

distributions to Class 4 claimholders. This information is vital as these assigned assets appear to

be substantial (i.e., “$1,331,827.98 utilizing a high value assumption”).5

           15.         Builders West further objects to the “Pro Rata Cash Payments” to General

Unsecured Creditors to the extent that the payments inexplicably decrease in years 4 and 5 of the

Plan and therefore, all of the Debtors’ disposable income is not being committed to the Plan:


              Months                            Monthly Payment
              Mos 1 - 12                        $           5,000.00
              Mos 13 - 24                       $         10,000.00
              Mos 25 - 36                       $         20,000.00
              Mos 37 - 48                       $         10,000.00
              Mos 49 - 60                        $           5,000.00
See PLAN, at 21. The Debtor has failed to explain why payments to General Unsecured Creditors

need to decrease for the last two years of the Plan.

           16.         Without more information, creditors are left to guess at the Plan’s feasibility. For

these reasons, Builders West requests that additional information be added to the Plan, in order for

Class 4 creditors to properly determine if the Plan is feasible.




4
    See PLAN, at 21.
5
 See PLAN, at 27 (“Mr. Van Dyke proposes to assign to general unsecured creditors his recovery in following financial
assets: funds held in State Court Registry, claim against ADE, and his interest in ADE. Holders of General Unsecured
Claims will receive significant recoveries under a liquidating high value assumption and no distribution under a low
value assumption. Under this Plan, Mr. Van Dyke proposes that Holders of General Unsecured Claims will receive
his interest in the significant assets of the estate (totaling $1,331,827.98 utilizing a high value assumption) and also
proposes payment totaling $600,000.00 from his future income.”).



Page 6 of 9
            Case 21-60052 Document 92 Filed in TXSB on 12/13/21 Page 7 of 9




    ii.          The Plan fails to adequately explain how the Debtor will handle Class 5 Claims.

           17.      The Plan also fails to explain how the Debtor will handle the Class 5 claims in the

event that TPO defaults on its contractual agreements, and if Class 5 Holders seek to enforce Van

Dyke’s personal guarantees. Without more information, creditors are left to guess whether the

Plan will be feasible in the event that the Debtor must pay these personal guarantees.

           18.      Without more information, the Plan is not feasible because it does not provide how

Class 5 creditors will be paid and, therefore, the Plan cannot be confirmed.

    iii.         The Plan fails to adequately explain how the 5-Year Financial Projections.

           19.      As discussed above, the Debtor has provided a five-year financial projection for

both TPO’s and his personal income and expenses. Debtor has failed to explain why TPO’s

sources of funds (despite adding productive wells to the Adams Prospect) and his salary decrease

in years four and five. In fact, Debtor has failed to provide sufficient information for creditors to

determine whether these amounts are properly supported, except to say that these projections are

“Mr. Van Dyke’s personal projections.” PLAN, at 23.

           20.      Without more information, creditors are unable to determine whether the Plan

complies with the Bankruptcy Code. For these reasons, Builders West requests that additional

information be added to the Plan as it relates to TPO’s and the Debtor’s personal projections, in

order for creditors to properly determine whether they are being treated fairly and equitably under

the Plan, and if the Plan is feasible.


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Page 7 of 9
          Case 21-60052 Document 92 Filed in TXSB on 12/13/21 Page 8 of 9




                                         CONCLUSION

         WHEREFORE, Builders West respectfully requests that the Court deny confirmation of

the Plan, and order any such other and just relief to which Builders West may be entitled to receive.


Dated:         December 13, 2021
                                                      Respectfully submitted:

                                                      /s/ Dale R. Mellencamp
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                                                      ATTORNEY FOR BUILDERS WEST,
                                                      INC.




Page 8 of 9
         Case 21-60052 Document 92 Filed in TXSB on 12/13/21 Page 9 of 9




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on the December 13, 2021, a copy of the foregoing

instrument was served on the parties entitled to receive notices through the Court’s electronic

notification system as permitted by the Local Rules of the U.S. Bankruptcy Court for the Southern

District of Texas.

                                                    /s/ Dale R. Mellencamp
                                                    DALE R. MELLENCAMP




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